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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

ERIK GARCIA,                                         )
                                                     )
                       Plaintiff,                    )
                                                     )       CIVIL ACTION
vs.                                                  )
                                                     )       FILE No. 4:19-CV-3566
FOOD CONSULTING GROUP, LLC and                       )
988 LLC,                                             )
                                                     )
                       Defendants.                   )


                              NOTICE OF SETTLEMENT

       Plaintiff, ERIK GARCIA (“Plaintiff”), by and through the undersigned counsel,

hereby notifies this Court that Plaintiff has reached settlement of all issues pertaining to

his case against Defendants, FOOD CONSULTING GROUP, LLC and 988 LLC.

       Plaintiff and Defendants, FOOD CONSULTING GROUP, LLC and 988 LLC, are

presently preparing a formal settlement agreement for signature and intend to file a Joint

Stipulation of Dismissal with Prejudice once the agreement is finalized. Plaintiff and

Defendants request forty-five (45) days within which to file its dismissal documents.




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       Respectfully submitted this 21st day of October, 2019.


                                             Law Offices of
                                             THE SCHAPIRO LAW GROUP, P.L.

                                             /s/ Douglas S. Schapiro
                                             Douglas S. Schapiro, Esq.
                                             Attorney-in-Charge for Plaintiff
                                             Southern District of Texas ID No. 3182479
                                             The Schapiro Law Group, P.L
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                                             Boca Raton, FL 33433
                                             Tel: (561) 807-7388
                                             Email: schapiro@schapirolawgroup.com

                                             ATTORNEYS FOR PLAINTIFF



                            CERTIFICATE OF SERVICE

       WE HEREBY CERTIFY that a true and correct copy of the foregoing was filed

electronically using the CM/ECF system on this 21st day of October, 2019.



                                             /s/ Douglas S. Schapiro
                                             Douglas S. Schapiro, Esq.
                                             Attorney-in-Charge for Plaintiff
                                             Southern District of Texas ID No. 3182479




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